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      gari M. Myron - State Bar No. 158592
      5AW OFFICE OF KART M. MYRON
       2972 Mill Creek Drive
      Eaguna Hills, CA 92653
      (949) 7 16-0600
      (949) 7 16-0606 (fax)
      krnyron@myron-law.com

      Attorney for Plaintiff Steven Benhayon


                            UNITED STATES DISTRICT
                           CENTRAL DISTRICT OF CALIFORNIA

      In re
      $TEVEN BENHAYON, an individual,                       COMPLAINT FOR DAMAGES
                                                            AND REQUEST FOR A JURY
                                    Plaintiff,              TRIAL:
              VS.                                       5   1.   ViolaticIn of the Employee
                                                            Retirement Income Secunty Act of
      ROYAL BANK OF CANADA. a                               1974 ("ERISA")
      Canadian compan         business form
      unknown.        R ~ CW E A L T H                      2.    Violation of the Age
      MANAGEANT        COMPANY, formerly                    Discrimination in Employment Act
      RBC DAIN RAUSCHER, NC., business                      of 1967 ("ADEA")
      form unknown; THE ROYAL R A W n F
      CANADA           US
                                         -.
                               W1E A L T H
                                           ..%a,.

                                                        <   3.      Wron ful Termination in
      ACCUMULATION PLAN, former1
      known as RBC Dain Rauscher Wealt              i                 4 .
                                                            Viola tio on o ubl~cPolicy
      Accumulation Plan; and, DOES 1 thro~
      20,
                                   Defendants.
                                                        I
              Plaintiff, Steven Benhayon, complains and alleges as follows:
                                           PARTIES
              1.    STEVEN BENHAYON ("Benhayon"), the plaintiff in this action is,
      ahd was at all times relevant, a resident of Santa Barbara County and a citizen of the
      gtate of California. He is, and was at all times relevant, over forty years of age.
              2.    Plaintiff is informed and believes that The ROYAL BANK OF
                                                 1

                                          COMPLAINT
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        CANADA, a defendant in this action, is a Canadian company, business form
        unknown, with its corporate headquarters in Toronto, Canada.
               3.        Plaintiff   is   informed and      believes    that   RBC     WEALTH
        MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER, INC., a
        defendant in this action, is a wholly owned subsidiary of the ROYAL BANK OF
        CANADA, business form unknown, with its headquarters in Minneapolis,
        Minnesota.
               4.        Plaintiff is informed and believes that THE ROYAL BANK OF
        CANADA US WEALTH ACCUMULATION PLAN (the "Plan") formerly known
        as the RBC Dain Rauscher Wealth Accumulation Plan, is an employee welfare
        benefit plan regulated by the Employee Retirement Income Security Act of 1974
        ("ERISA"), which was established by the Royal Bank of Canada, and under which
        Plaintiff was a participant and is entitled to benefits. A true and correct copy of the
        Wealth Accumulation Plan 2003 Plan Year is attached hereto as EXHIBIT A and
        incorporated herein by reference.
               5.        DOES 1 through 20, inclusive, are fictitiously named defendants, as
        Plaintiff is unaware of their true names or capacities. When such true names or
        capacities are discovered by Plaintiff he will seek leave to amend this Complaint to
        allege the true names and capacities of the fictitiously named defendants.
               6.        At all times relevant, each of the defendants ratified the conduct of the
        others and acted as the agent of the others within the course and scope of his, her or
        its authority.
                                     JURISDICTION AND VENUE
               7.    This action is brought for the purpose of recovering benefits under the
        terms of an employee benefit plan, enforcing Plaintiffs rights under the terms of an
        employee benefit plan and to clarify and enforce Plaintiffs past, present and future
        rights to benefits under the employee benefit plans at issue herein; and, to recover
        damages for termination of Plaintiffs employment in violation of ERISA, the Age
                                                     2
                                                COMPLAINT
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        Discrimination in Employment Act of 1967 ("ADEA"), and public policy.
               8.       This Court has subject matter jurisdiction over the matters set forth in
        this Complaint under, and by virtue of, 29 U.S.C. $$ l132(a), (e), (f) and (g)of
        ERISA as it involves a claim by Plaintiff for employee benefits under an employee
        benefit plan regulated and governed by ERISA. Jurisdiction is predicated under
        these code sections as well as 28 U.S.C. $ 1331 as this action involves a federal
        question.
               9.       This Court has subject matter jurisdiction over the matters set forth in
        ths Complaint under, and by virtue of, 29 U.S.C.       $3 621-634 of the ADEA as it
        involves a claim by Plaintiff for damages he suffered as a result of Defendants'
        alleged violation of the ADEA. Jurisdiction is predicated under these code sections
        as well as 28 U.S.C. $ 133 1 as this action involves a federal question.
               10.      Further, pursuant to 28 U.S.C. $ 1367(a) federal courts have the
        discretion to adjudicate state law claims that are transactionally related to the federal
        claims. Plaintiff asserts herein a claim for damages resulting from the tortious
        termination of Plaintiffs employment in violation of public policy. This cause of
        action is transactionally related to the federal claims alleged herein.
               11.      Plaintiffhas exhausted all administrative remedies required by both the
        terms of the Plan and 29 U.S.C. $ 626(d).
               12.      On or about November 12, 2007, Plaintiff filed a claim demanding
        payment of his rightful distribution under the Plan in accordance with Section 7 of
        the Plan. On or about December I 1,2007 Defendants denied the claim. A request
        for a review of the denied claim was made on or about February 6, 2008 pursuant
        to Section 7.4 of the Plan. On or about April 9,2008 Defendants affirmed the denial
        of the claim.
               13.      On or about May 20,2008, Plaintiff filed a complaint of discrimination
        with the California Department of Fair Employment and Housing and the Equal
        Employment Opportunity Commission. On or about May 22,2008 the Department
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                                              COMPLAINT
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          of Fair Employment and Housing issued Plaintiff a right to sue notice. On or about
          September 16, 2008 the Equal Employment Opportunity Commission issued
          Plaintiff a right to sue notice.
                 14.      Defendants can be found in this judicial district and the breach of the
          Plan took place in this judicial district. Therefore, pursuant to 29 U.S.C.          3
           1132(e)(2) venue is proper in this district.
                                       FIRST CAUSE OF ACTION
            BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY
                                               ACT OF 1974
                                              (All Defendants)
                 1.5.     Plaintiff repeats and realleges by reference each and every allegation
    12    contained in Paragraphs 1 through 14 and incorporates the same as though fully set
    13    forth herein.

    l4   1 Inc. and16.was Ata covered
                               all times relevant, Plaintiff was employed by RBC Dain Rauscher,
                                       participant under the terms and conditions of the Plan.
                 17.      Plaintiff was hired by RBC Dain Rauscher, Inc. on November I , 1990.
                 18.      On September 1 7, 2007, Plaintiffs employment was wrongfully
          terminated without cause or prior notice. At the time of termination, Plaintiff held
          the position of Managing Director.
                 19.      In fewer than 120 days following termination, Plaintiff was due a
          distribution under the Plan exceeding $300,000.
                 20.      Under the provisions of the Plan, Plaintiff was entitled to accelerated
          vesting and distribution of plan benefits at the time of termination.
                 21.      Defendants wrongfully breached the Plan and denied Plaintiff the
   25     distribution he was entitled to under the Plan, all in violation of ERISA.
   26            22.      Plaintiff is informed and believes and thereon alleges that Defendants
   27     wrongfully denied his distribution under the Plan and wrongfully terminated his
   28     employment to avoid paying Plaintiff benefits he was due under the Plan.
                                                     4

                                                COMPLAINT
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                 23.       Following the Defendants' denial of benefits under the Plan, Plaintiff
           exhausted all administrativeremedies required under ERISA and any further attempt
           to resolve this matter would be futile. Plaintiff has performed all duties and
           obligations on Plaintiffs part to be performed under the Plan.
                 24.       As a proximate result of the aforementioned wrongful conduct of the
           Defendants, and each of them, Plaintiff has damages for loss of wages, loss of
           benefits and other economic losses in a total sum to be shown at the time of trial.
                 25.       As a further direct and proximate result of this improper denial of
           Plaintiffs claim, Plaintiff, in pursuing this action has been required to incur
           attorneys' costs and fees. Pursuant to 29 U.S.C.    5   1132(g)(l), Plaintiff is entitled
           to have such fees and costs paid by Defendants.
                                      SECOND CAUSE OF ACTION
           VIOLATION OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT
                                             OF 1967 ("ADEA")
                  (Defendants Royal Bank of Canada and RBC Wealth Management
                                Company, formerly RBC Dain Rauscher, Inc.)
                 26.       Plaintiff repeats and realleges by reference each and every allegation
           contained in Paragraphs 1 through 25 and incorporates the same as though fully set
           forth herein.
                 27.       The Age Discrimination in Employment Act, 29 U.S.C.         $5 622 and
           623(a), prohibits discrimination against employees who are at least forty years of
           age. Plaintiff alleges that Defendants discriminated against him with respect to his
           employment, including without limitation termination ofhis employment and denial
       of the benefits he was entitled to, because of his being over forty years of age.
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       I    28. Plaintiff alleges that Defendants Royal Bank of Canada and RBC
       Wealth Management Company, formerly RBC Dain Rauscher, Inc., wrongfully
       terminated Plaintiff because of his age and to prevent him from receiving the
       distribution he was entitled to under the Plan.
                                                      5
                                                 COMPLAINT
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              29.       Defendants Royal Bank of Canada and RBC Wealth Management
        Company, formerly RBC Dain Rauscher, Inc., are "employers" pursuant to 29
        U.S.C. 630(b).
              30.       As a result of Defendants' actions, Plaintiff has suffered irreparable
        injuries, including but not limited to loss of pay, benefits and other economic losses.
                                    THIRD CAUSE OF ACTION
          WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
               (Defendants Royal Bank of Canada and RBC Wealth Management
                             Company, formerly RBC Dain Rauscher, Inc.)
              3 1.      Plaintiff repeats and realleges by reference each and every allegation
        contained in Paragraphs 1 through 30 and incorporates the same as though fully set
        forth herein.
              32.       Plaintiffs employment was wrongfully terminated by Defendants
        Royal Bank of Canada and RBC Wealth Management Company without notice and
        without cause immediately prior to Plaintiff vesting in the Plan.
              33.       Plaintiff is informed and believes that his employment was terminated
        to prevent him from obtaining the benefits due him under the Plan. There exists in
        California a strong, well-established public policy as embodied in the California
        Labor Code which emphasizes the importance of prompt payment of employee
        compensation.
              34.       Plaintiff is further informed and believes that he was terminated due
        to his age. There exists in California a strong, well-established public policy as
        embodied in the California Fair Employment and Housing Act, California
        Government Code §§ 12900-12996, which prohibits discrimination against older
        workers.
              35.     As a direct, foreseeable, and proximate result of Defendants' conduct,
        Plaintiff has lost income, employment, benefits, and career opportunities, and has
        suffered other economic loss in an amount that exceeds $300,000, the precise
                                                   6
                                              COMPLAINT
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      1I 1amount36.of which will be proved at trial.

     2111) fraudulently,Defendants
     3
                                      committed the acts alleged herein maliciously,
                        and oppressively, and with the wrongful intention of injuring Plaintiff,
    4     and acted with an improper and evil motive amounting to malice. Alternatively,
     5    Defendants' despicable conduct was carried out in conscious disregard of Plaintiffs
     6    rights. As a result of Defendants' conduct, Plaintiff is entitled to recover punitive
     7    damages.
     8            WHEREFORE, Plaintiff prays for judgment against Defendants, and each
    9 o f them, as follows:

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                  1.     For compensatory damages and other special and general damages
                      to proof;
                  2.   For an award of interest, including prejudgment interest, at the legal
          rate;
                  3.   For loss of earnings, benefits, and all other special damages;
                  4.   For costs of suit, including reasonable attorney fees;
                  5.   For punitive damages;
                  6.   For other and further relief as this Court deems just and proper.


                                                 LAW OFFICE OF KARI M. MYRON


                                          RV: ORIGINAL SIGNED BY KARi FA.        MYRON
                                                 Kari M. M ron
                                                            ?
                                                 Attorneys or Plaintiff Steven Benhayon

                            PLAINTIFF DEMANDS A JURY TRIAL




                                             COMPLAINT
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                Wealth Accumulation Plan

                           2003 Plan Year


                                    AND PROSPECTUS
                           DESCRIPTION
                     SUMMARY




                      Royal Bank of Canada


                         This document constitutes part of
                          a prospectus covering securities
                          that have been registered under
                             The Securities Act of 1933
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                   The description of the RBC Dain Rauscher Wealth Acc~unulationPlan (the "Plan") that


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           follows is qualified in its entirety by the full text of the Plan, a copy of which is available upon
           request. Eligible persons are urged to review the terms of the Plan and to make any inquiries
           they feel necessary of the representatives of RBC Dain Rauscher Corporation (the "Company")
 ~l        named below prior to making their investment decisions. To obtain a copy of the Plan and
 1,        additionil information about the Plan and its administrators, the Committee (as defined below),
 4         you may contact Brent C. Sabin, Vice President, Benefits Manager, RBC Dain Rauscher, RBC
           Dain Rauscher Plaza, 60 South Sixth Street, Minneapolis, Minnesota 55402-4422; telephone
           (612) 371-7612,
           A.      Cieneral Nature and Pumose of the Plan
                    The Plan is a nontax-qualified, deferred compensation plan pursuant to which a select
            group qf management or highly cornpensated employees of the Company and its parlicipating
            subsidi4ries (as defined below) will be offered the opportunity to elect, on an mual basis, to
            defer receipt of a poaion of compensation to be earned with respect to the upcoming year. The
            Plan is designed to provide an opportunity for such employees to achieve wealth accumulation
            through employee deferrals, tax-deferred savings and investment options that support long-term
            savings and allow such employees to share in the Company's growth and profitability. Pursuant
            to an agreement between the Company and its sole shareholder, Royal Bank of Canada, a
            Canadian Chartered Bank with its principal place of business in Toronto, Ontario, Canada
            ("RBC"), RBC has agreed to be the obligor (a "Plan Obligor") for certain obligations under the
            Plan as described under "Plan Obligor; Status as Unsecured General Creditors" below.
            B.     Material Terms of the Plan


      I            Eligibilig. Employees eligible to participate in the Plan are any of the select group of
           management or highly compensated employees of the Company or its participating subsidiaries

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           (defined under the Plan as a corporation. now or in the future, affiliated with the Company that
           adopts the Plan (with the Company's prior consent)) whose gross cash compensation (defined as
           "Recognized Compensation" for purposes of the Plan) exceeds $150,000 per year, or whose
           compensation or production otherwise exceeds a level deemed appropriate by the Board of
           Directors of the Company (the "Board of Directors") or any committee established by the Board
           of Directors to administer the Plan (the "Committee") to include only such select group of
           management or highly compensated employees, in each case, as determined by the Committee in
           its sole discretion. The members of the Committee serve at the pleasure of the Board of
           Directors. Employees are first eligible for Plan participation on the first day of the month
                          initial date of employment with the Company, or as otherwise determined by the
                      . Employees who are resident in Canada for purposes of Canadian income tax
                          not eligible to participate in the Plan.

                  h'leczion to Defer Compensation. Participants may enroll in the Plan by electing to defer
           a percentage of their gross cash compensation in excess of $100,000 to be earned with respect to
           the Plan year ("Deferrable Compensation"). For some participants, as designated by the
           Committee, Deferrable Compensation will be defined as all gross cash compensation earned by
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   that participant with respect to the Plan year. Gross cash compensation is generally defined
   under the plan to include base salary, bonuses. and cash commissions earned by a participant
   with re$pect to the Plan year. Elections must be made no later than December 31 of the year
   immediately preceding the year in which such Deferrable Compensation will be earned or, with
   respect to employees who are fusi eligible to particpate in the Plan during a given year, such
   smployees must make an election within 30 days of initial employment, with such election to be
   zffective with respect to Deferrable Compensation as of the first day of the month following the
   date of such election In connection with designating an employee as being eligible to participate
   in the Plan, the Committee may designate a percentage of such employee's Deferrable
   Compensation that must be deferred (the "Mandatory Deferred Compensation"). The Committee
   may also designate all or a portion of such other compensation that must be deferred by
   participants (the "Special Deferred Compensation"). A participant may also elect voluntady to
   b f w a percentage of his or her Deferrable Compensation that the participant would otherwise
   %mwith respect to services to be rendered in the next succeeding year (the "Voluntary Deferred
   Compeksation"). A participant's total deferral opportunity with respect to any Plan year shall be
   :he sum of his or her Mandatory Deferred Compensation, Special Deferred Compensation, and
   Voluntary Deferred Compensation (the "Deferred Amounts").

          The Committee shall from time to time establish the maximum percentage of Deferrable
   hnpemsation that a panicipant may elect under the Plan. For the 2003 Plan year, the
   Smmittee has established 30% as the maximum percentage for participants who are not covered
   Jy any requirements for Mandatory Deferred Compensation. The maximum percentage for all
   xher participants will vary as designated by tk Committee.
          Upon electing to participate in the Plan, a participant shall choose the form of the
   ieemed investment of his or her Defemd Amounts by electing to credit such deferrals for any
   'Ian year to one or more of the following:

                  (1)     his or her "Stock Account" (the bookkeeping account in which a
          participant's deemed investments in the common shares of RBC (the "'Common Shares"),
          are credited);

                 (2).    his- OF her "IntcPest Prceountn (the bookkrqbg m u n t in which a
         participant's deemed investments are credited to earn a rate of return (the "Interest
         bte"), as determined by the Committee); unless otherwise determined by the
         Committee, as of March 3 1,2003 the Interest Rate shall be the 90-day LIBOR rate (reset
         quarterly) plus 0.5%;

                    (3)     his or her "Mutual Fund Account(s)" (the bookkeeping amount@) in
              vhich a participant's deemed investments in mutual funds, selected by the Committee
              &m time to time, are credited);
               !
          1         (4)    such other accounts as the Committee may from time to time establish; or

                    (5)   a combination of the accounts described above.
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;I               Any election by a participant to have his or her Deferred Amounts credited to his or her
         Stock Account shall be irrevocable for all time thereafter. Any investment election by a


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         participant regarding his or her Deferred Amounts may be dmnged with respect to future
         deferrals in accordance with the rules established by the Committee. If a participant fails to
         make an investment election, such participant's Deferred Amounts will be credited to his or her
         Interest Account.
                 Upon electing to participate in the Plan, a participant will also make an irrevocable
         election with respect to the timing of the distribution of amounts credited to such participant's
         accounts. As described more fully in "Distributions" below, a participant may elect to have such
         distribution made either (i) upon the earlier of a specified date (which date must fall on the last
         day of a calendar quarter) or the date of his or her "Separation" (as defined below) if prior to
         such specified date, or (ii) upon such Separation. If a participant fails,to make a distribution
         election, his or her accounts will be distributed in two roughly equal annual installments in each
         of the two Plan years immediately following his or her Separation. As used in the Plan,
         "Separation" meam the date of a Plan participant's separation of employment from the
         Company, a participating subsidiary or an RBC subsidiary (other than due to death, disability or
         termination for cause), including "Approved Retirement" (as defined below under -'Vesting3?.

 i~              Deferred CompensationAccounts Accounts for Plan participants will be established for
         bookkeeping purposes only and will not be consided as, or as evidence of the creation of, a
(        trust fond or a transfer or o h r s e g q a t i o n of assets for the bene. of the Plan participants or
         their beneficiaries. The accounts will be composed of a Stock Account, a Matching Stock
'I'      Accounr, a Mandatory Stock Account, an Interest Account, one or more Mutual Fund Accounts,
         a Cash Account and Matching Cash Account, and such other accounts as the Committee may
 !,      from time to time authorize. Such accounts shall be established and credited with the awrouriate
                                                                                                      -- -
         amounts as provided in the Plan. Crediting and p'cing of participants' accounts shall occur on or
         about each payroll date.
                Stock Account. For any Plan year, in connection with a participant's election to have a
         portion of his or her Deferred Amounts cndited to his or her Stock Account, such participant's
         Stock Account shall be deemed to have been allocated the number of Common Shares, resulting
         from dividing such portion of the Deferred Amounts allocated to the Stock Account by the
         reported closing price per Common Share on the New York Stock Exchange as reported on or
         about each payroll date (the "Payroll Date Price").
                Interest Account. If a participant elects to have a portion of his or her Deferred Amounts
         for any Plan year credited to his or her Interest Account, then such account shall be increased by
         the amobt of deferred compensation so credited on or about each payroll date.
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                f  rtruaI Fund Account. If a participant elects to have a portion of his or her Deferred
         Amoun for any Plan year credited to a Mutual Fund Acwunf then on or about each payroll
         date his or her appropriate Mutual Fund Account shall be deemed to have been allocated the
         number of units (including fractional units) of a "Mutual Fund" (as defined below) equal to the
         portion of his or her Deferred Amounts allocated to the Mutual Fund Account divided by the
         appropriate closing price, as determined by the Committee, on or about each payroll date.
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\      "Mutual Fund" is defined under the Plan as the mutual fund investment vehicles selected from
       time to time by the Committee in its sole and absolute discretion.

               Matching Bock Account. The Committee stall establish prior to the beginning of each
       Plan year the extenl to which Deferred Amounts are eligible for Matching Cmtributiom by the
       Company. Matching Contributions, in general. will vary with certain performancebased
'      measuns of the Company, or such other performance factors as detennined by the Committee.
4      If a participant becomes entitled to a Matching Contribution, then, &r the end of the Plan y e n
       and at such time as the Committee shall determine, his or her Matching Stock Account will be
       deemed to have been allocated the number of Common Shares resulting from dividing the
       amount of the Employer Match by the Payroll Date Price. Matching Contributions will credited
       to partkipants' Stock Accounts and shall be irrevocable for all time thmdkr (subject to the
       vesting requirements and forfeiture provisions discussed below).
              CrediUng of Investment Earnings. At such times as RBC declares dividends on its
       Commdn Shares a determination will be made as to the number of Common Shares which are
       credited to a participant's Stock Account, Matching Stock Account and Mandatory Stock
       Account, the record date for such dividend, and an amount equal to such number of Common
       Shares multiplied by the declared dividend per Common Share in U.S. dollars (such dividend to
       be calculated without taking into account any and all Canadian withholding taxes to which such
       dividend might be subject, if actually paid) will be credited, on the payment date, initially to such
       participant's Cash Account and Matching Cash Account (if dividends are paid in cash) or such
       participant's Stock Account, Matching Stock Account and Mandatory Stock Account (if
       dividends are declared in Common Shares). T h e r e h r , all funds credited to a participant's Cash
       Account and Matching Cash Account as a result of cash dividends, shall be deemed to have been
       used to purchase Common Shares on dates determined by the Committee. The number of
       additional Common Shares purchased shall be equal to the number of Common Shares, derived
       by dividing the total amount of cash credited to the Participant's Cash Account and Matching
       Cash Account by the Payroll Date Price. The Company will not provide a Matching Contribution
       with respect to such deemed purchases of Common Shares credited to a participant's Sock
       Account, Matching Stock Account or Mandatory Stock Account.

              As of the last business day of each month or such other date as the Committee may
      determine, an amount equal to a participant's balance in the Interest Account on the first business
      day of such month multiplied by the quarterly Interest Rate. as determined by the Committee,
      will be allocated to such participant's Interest Account. If a participant elects to transfer amounts
      out of his or her Interest Account, credits to such participant's Interest Account shall be prorated
      to reflect the number of days such transferred funds were held in such participant's Interest



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                 t such times as interest or dividends are paid or other distributions made in connection
        with a utual Fund ("Fund Additions"), a determination will be made as to the number of units
      ' (includ ng fractional units) of the Mutual Fund which are credited to a participant's Mutual Fund
      ' Accouni on the interest or other distribution date, and an amount equal to such number of units
        multiplied by the amount of Fund Additions per unit will be credited, on the date such Fund
        Additioh is paid or distributed, to such participant's Mutual Fund Account, or other fund
       detennhed by the Committee. Interest payments or other distributions will be deemed
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   reinvested in additional units of the Mutual Fund at prevailing market prices on the drrte of the
   interest payment or other distribution.

           A participant's Cash Account shall not be credited with interest, and shall not be deemed
   to be invested n any interesl-becuing item. Similarly, a participant's Matching Cash Account
   shall not be credited with interest. and shall not be deemed to be invested in any interest-bearing
   item.
           Intro-Plan Tramfers. A Plan participant may elect to have all or a portion of the
   amounts credited to any of his or her accounts transferred to any other accounts under the Plan
   (other than amounts credited to the Stock Account, Matching Stock Account and Mandatory
   Stock Account); provided. however, that no transfer of any account balance may be made into or
   out of a participant's Stock Account, -tory           Stock Account or Matching S w k Account
   The Committee shall detamine the procedures and limits on intra-Plan aansfers for each Plan
   year. and intra-plan transfers shall be effective as soon as practicable after a Participant's request
   is received by the Company. An intra-Plan transfer shall be initiated by submitting a request to
   the Company in such form as the Committee shall determine.
           Vesting. All Voluntary Deferred Compensation amounts credited to the Stock Account,
   Interest Account, Mutual Fund Account and Cash Account (except for deemed investments
   credited to a participant's Matching Cash Account) of a Plan participant shall be fully vested.
   Subject .to acceleration or modification by the Committee in its sole discretion, deemed
   investments credited to the Matching Stock Account and Matching Cash Account of a Plan
   participant, any Special Deferred Compensation amounts, and all Mandatory Deferred
   Compensation allocated to the Mandatory Stock Account or such other investment accounts as
   directed by the participant, shall become vested on the date or dates determined by the
   Committee. The Committee will announce any prospective change in the vesting schedule with
   respect to any Matching Contributions, special Deferred comp&sation or ~an&toryDeferred
   Compensation prior to December 31 preceding each new Plan year.

            All deemed investments credited to a participant's Matching Stock Account and
    Matching Cash Account, any Special Deferred Compensation amounts, and all Mandatory
    Deferred Compensation allocated to the Mandatory Stock Account or such other investment
    accounts as directed by the participant, will vest in full upon the death or disability (as defmed in
    the Plan) of the participant. Similarly, subject to acceleration or modification by the Committee,
    deemed invesrments credited to a participant's Matching Stock Account and Matching Cash
    Account, any Special Deferred Compensation amounts, and all Mandatory Deferred
  j Compensation allocated to a participant's Mandatory Stock Account or such other investment
              as directed by the participant, that would not otherwise be fully vested in accordance
              schedule fixed by the Committee, will automatically vest in full upon the one-year
                 of a participant's "Approved Retirement," which is defined under the Plan as the
                   termination of employment of a participant who (i) has been an employee of the
                   any participating subsidid for ten or more years at the time of separation or
                    employment. (ii) has entered into a noc-competition, no~solicitationand related
    agreement in a form approved by the Committee and (iii) with respect to deferrals
    years cOmmeacing on or after January 1.2001, whose age upon Separation is
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!I
         provided that, such vesting will be subject to forfeiture as set forth in the participant's
         no~competitionagreement with the Company.

                 Forfeiture of MatcI~ingContributions and Other Amounts. If a participant ceases to be
         employed by RBC, an RBC subsidiiuy or the Company due to his or her ma or willikl
         misconduct during the course of his or her employmem, including theft or commission of a gross
         misdemeanor or felony, all deemed investments credited to any Matching Stock Account or
         Matching Cash Account, any Special Deferred Compensation amount: and all Mandatory
         Deferred Compensation allocated to a participant's Mandatory Stock Account, will be forfeited,
         regardless of whether the vesting schedule has otherwise been satisfied with respect to such
         shares or assets, and the proceeds thereof will be deemed returned to the Company. Also, all
         amounts credited to a participant's Matching Stock Account or Matching Cash Account, any
         Special Deferred Compensation amount. and all Mandatory Deferred Compensation allocated to
         a participant's Mandatory Stock Account, that are not vested at the participant's employment
         termination date will be forfeited,      as otherwise described under "Vesting" above.

                 Dislributions. Upon electing to participate in the Plan, a participant will also make an
         irrevocable election with respect to the timing of the payment of the amounts credited to such
     i   participant's accounts. A participant may elect to have such distribution made either (i) upon the
         earlier of a specified date (which date must fall on the last day of a calendar quarter, provided
     :        any distribution shall be made prior to the last day of a calendar quarter if such distribution
         would result in payments to a participnt in more than one calendar year) or the date of his or her
         Separation if prior to such specified date, or (ii) upon such Separation.
               Distributions that are made prior to the date on which Matching Contributions,
 I      Mandatory Deferred Compensation or Special Deferred Compensation are vested will, in
      ! general, result in the forfeiture of such contributions.
     I!



                 Distributions made pursuant to an in-service election are made in a single payment if the
         election is triggered by the date selected by the participant. or in two annual installments if the
         election is triggered bv the participant's Separation vrim to*the date certain selected by the
         participant. Suchdistributionswill be made on or about the date selected by the participant if the
         election is triggered by such date, or on or about January 15 of the two Plan years following the
         date of Separation if the election is triggered by the participant's Separation. Upon Separation,
         the first installment shall be equal to 50% of all amounts deemed allocated to a participant's
         accounts on the first payment date, and the second installment shall be equal to the remainder of
         all amounts deemed allocated to such participant's accounts on the second payment date (in each
         case, less any amounts required to be withheld as described under "Tax Withholding" below).

                  istributions pursuant to an election to receive distributions upon Separation or
                    Retirement will be made to participants in two annual installments on or about
                      of each of the two Plan years following the year of Separation in the manner
                       the preceding paragmph; provided however, that a participant shall be entitled to
                        one-time basis only, his or her participant's Separation election with respect to an
         Approvtd Retirement to extend the number of post-Approved Retirement installment payments
         described above from two annual installments to three, four or five annual installments; and
         provided further, that such change in his or her Appmved Retirement election must be made at
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            I
                least twelve (12) months prior to the effective date of such participant's Approved Retirement.
                A participant's failure to make a distribution election will result in a default election to receive a
                distribution in two annual installments on or about January 15 of each of the two Plan years
                following the year of Separation in the manner described in the preceding paragraph.
            1           Distributions following death or disability (as defined in the Plan) shall be made in a
                single payment as soon as administratively feasible after such event.
                        All distributions from the Stock Account. Matching Stock Account and Mandatory Stock
                Account will be in the form of Common Shares, less the number of Common S k s equal to the
                amount of tax required to be withheld. All distributions from other accounts will be in cash. All
                Common Shares distributed under the Plan, if any, shall be, at RBC's option, Common Shares
                that have been previously issued and that are currently trading in the market, or, subject to the
                approval of the board of directors of RBC and to regulatory approval. authorized but previously
                unissued shares. RBC has filed a Registration Statement on Form 5 8 with the Securities and
                Exchange Commission covering the deferred compemation obligations under the Plan and the
/
I
                Common Shares that may be distributed under the Plan. Distribution from accounts of a Plan
                participant upon such participant's death shall be made to the participant's designated
i               beneficiary.
!I
i                       Charges and Deductions to Accounts. As of April 1, 2003, Fidelity Investments
                became administrator under the Plan. Fidelity Investments charges the Company an annual
    :           record-keephg fee which is apportioned ratably against participants' accounts. Additionally, to
                offset additional costs incurred by offering mutual fund investments in the plan, a special
    I
                quarterly fee will continue to be deducted from the participant's Mutual Fund Account. The
    :' 1        amount of the special quarterly fee will be determined by multiplying ihe value of the
                participant's Mutual Fund Account, by a decimal, which is currently 0.000625. From time to
                time. the Committee will review, and may change, the record-keeping fee and the quarterly
                mutual fund fee calculation.
                        Plan Obligor; Status as Umecured Genera! Creditors. RBC shall be the Plan Obligor
1               for amounts payable to participants pursuant to distributions from all accounts; provided,
4               however, tbat, except as described in the following sentence, the Company shall be the Plan
1               Obligor with respect to the Mandatory Stock Accounts and their related Matching Contributions
                       &
                Notwit tanding the foregoing, RBC shall be the Plan Obligor with respect to all accounts of
                participants who are residents, for tax purgoses, in California and Arizona during the Plan year.
                All piirticipants are general, unsecured creditors of the relevant Plan Obligor with respect to
                amounts payable from the accounts described herein.

                           t participants and beneficiaries shall not have any secured or preferred interest by way
                                    lien or othawise in any specific assets of RBC, the Company, or any
                                            If a Plan Obligor, in fact, elects to set aside monies or other assets to
                                             the Plan (there being no obligation to do so) through the creation of a
                                                     or other assets shall be subject to tbr claims of its general
                creditoh, and neither any participant nor any beneficiary of any participant shall have a legal,
        I       beneficial or security interest therein.
        I
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           Certain Federal Income Tax Comequences. Due to the complexity of the applicable
   provisions of the Internal Revenue Code of 1986, as amended (the "Code"), this summary of
   certain federal income tax musequences only sets forth the general tax principles affecting the
   Plan. These general tax principles are subject to changes which may be brought about by
   subsequent legislation or by regulations and administmtive rulings, which may be applied on a
   retroactive basis. Participants may be subject to state or bcal income taxes as a result of their
   election to defer compensation pursuant to the Plan and should refer to the applicable laws m
   those jurisdictions.
          Neither RBC, the Company nor any participating subsidiary has obtained a ruling from
   the Internal Revenue Service Ithe "IRS'1 reaardiniz the federal income tax consequences
   associated with participation in ;he Plan. wordi in^&, each Plan participant should Ansalt
                                                                           - upon
   his or her own tax counsel on auestions reenrding tax liabititiea arising  - any election to
   defer oompensation pursuant to the plan-and any distributions made to such-participant
   pursuant to the Plan.
           Plan participants remain general, unsecured creditors of the Plan Obligors with respect to
   the right to receive any distributions pursuant to the Plan. In addition, the Plan provides that the
   election to defer any portion of a participant's compensation is made prior to the performance of
   the personal services for the Company or any participating subsidiary to which the compensation
   relates. Accordingly, the Company believes that Plan participants are not expected to recognize
   either the deferred amounts or the matching contributions as income compensation for federal
   income rax purposes until such amounts are actually paid or diibuted to them under the Plan;
   provided that. such amounts may still be subject to FICA taxes at the time they would have been
   paid but for the participant's deferred election. The participants employer will be allowed an
   income tax deduction in the amount that, a d for its taxable year in which, a Plan participant
   recognizes compensation income to the extent such amount satisfies the general rules concerning
   deductibility of compensation. As described above and in "Tax Withholding" below, it is
   expected that the Company will be required to withhold or otherwise collect income and other
   payroll taxes upon such amounts as required under Section3402 and certain other sections of the
   Code.

           Tau Withholding. All distributions will be treated as wages for tax purposes ad
   therefore will be made net of all applicable income, FICA and payroll taxes required to be
   withheld. In connection with any event that gives rise to a federal or other governmental tax
   withholding obligation on the part of the Company or any of its subsidiaries or afliliates relating
   to amounts under the Plan (including, without limitation, FICA tax), (i) the Company may
   deduct or withhold (or cause to be deducted or withheld) from any payment or distriiution to a
              whether or not pursuant to the Plan, or (ii) the Committee shall be entitled to require
                       remit cash to the Company or any of its subsidiaries or affiliates (through
                       or otherwise), in each case in an amount sufficient in the opinion of the
                        such withholding obligations.

           No Compemation Under the RBC-U.S.A. Retirement and Savings Pkm. The Matching
   Contributions and any other amounts contributed by the Company under this Plan will not
   constitute "Recognized Compensation" for purposes of calculating retirement benefits under the
   RBC-U.S.A. Retirement and Savings Plan, the Company's tax-qualified, retirement benefit plm.
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                Voting Rights. Accwnts under the Plan are bookkeeping accounts and. accordingly,
        Plan participants will not have any voting rights with respect to any Common Shares or any units
        or other interests in Mutual Funds deemed allocated to any Account.

                Plan Administratwn The Plan will be administered by the Committee. The Committee
        has the full power and authority to make all determinations provided for in the Plan, including
        without limitation promulgating rules to address potential conflicts of interest; provided that, the
        Board of Directors has the full power and authority to make determinations with respect to the
        Plan having the effect of materially increasing the cost of the Plan to the Company or any
        participsting subsidiary. The Plan may be amended or tamhated at any lime by the Committee
        or the Board of Directors, including, without limitation, (i) to am that neither the Plan
        Obligom nor the participants are subject to adverse Canadian or United States tax consequences
        and (ii) to modify the form of distribution of participants' accounts. Plan participants will be
        responsible for all administrative charges incurred with respect to the Plan to the extent such
        expenses are not paid by the Company, including the costs of outsourced recordkeeping (which
        expensis will be allocated equally among the participants' accounts). If any Plan participant or
        beneficiary of a Plan participant disagrees with any determination h a t has been made for
        payment under the Plan, a claim may be presented in accordance with procedures set forth in the
        Plan
                Amendments to and Termination of Plan. The Plan may be amended or terminated at
        any time by the Committee or the Board of Directors, but no such amendment or termination
        shall have the effect of (i) reducing the vested portion of amounts already credited to the Stock
        Account, Cash Account, Interest Account, Mutual Fund Account, Matching Stock Account,
..
 .i!
  :
        Matching Cash Account or Mandatory Stock Account or (ii) extendii the time of distribution of
        such participant's accounts, -withoutthe consent of such participant. The Plan will continue in
        effect until so terminated. Upon termination a11 amounts credited to Participants' accounts and
        not forfeited may be distributed.
  I!           ERISA Mutters Although the Plan is not qualified under Section 401 of the Code, the
        Plan may be an "employee pension benefit plan" as defined by the Employment Retirement
 '
 I
        Income Security Act of 1974, as amended ("ERISA") However, if the Plan is determined to be
        an "employee pension benefit plan," the Company believes that it constitutes an unfunded plan
 I      of deferred compensation maintained for a select group of management or highly compensated
        employees and, therefore, it is exempted from many ERISA requirements. A statement has been
        filed with the Department of Labor to comply with ERISA reporting and disclosure
        requirements.

                Funding. The Plan does not =quire that any deemed investments under this Plan be
       j hded
                r'
                 y the Company.

       1 Comp.&porting.    As soon as adminirmfively feasible aRer each calendar quarter end, the
               y will prepare and deliver to each participant a report showing (i) the mounts credited
       to the participant's accounts since the last report from the Company, and (ii) the amounts of any
       distributions made since the last report. At its discretion, the Company may prepare and deliver
       more Mquent reports to Plan participants.
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                C.     Wormation Concerning Investment Alternatives

                      As described above, Plan participants will be entitled to determine on an annual basis
,               how their Deferred Amoums under the Plan will be credited into accounts deemed invested in
!       ,       RBC's Common Shares Interest, or Mutual Funds.
                        RBC Stack Information. The annual return on RBC's Common Shares for each of the
                years in the five-year period ended January31.2003, is set forth below:
                                  12-Montli
\                               Period Ended                      Annual Return on
                                 January 3 1                    RBC Common Shares (1)
                                    2003                               20.1 %




    .           (1)    Assumes quarterly reinvestment of all dividends. Based on New York Stock Exchange closing prices On
                       January 3 1 s
    I
    i                  Annualiid rehum on RBC's Common Shares as compared with annualid re-            on
    I/          the Toronto Stock Exchange 300 Index and the Standard & Poor's 500 Index for the five-yuv
    I           period ended Januruy31,2003, are set forth below:

                                Annualized Return on               Annualized Return           Annualized Retum on
                               RBC Common Shares(])               on TSE 300 Index (2)          S&P 500 Index (3)
                                      20.11%                            -10.6%                       -23.0%

        I
                (1)    R h m numbers are based on the performance of RBC Common Shares on the New York Stock Exchange
                       plus dividend reinvestment.
        i       (2)    Data provided by Bloombtrg. Assumes reinvcstmenl of all d~vidends.
                (3)    Data provided by Morningstar. Assumes reinveslmcnt of all dividends.
        I
                     Eligible employees are urged to obtain copies of, and to review, the documents
              incorporated by reference herein (described under Item E below) which describe RBC's business
              and financial performance. The past performance of RBC's Common Shares is not a
              guarantee of future results. As with nearly any type of investment, a Plan participant's deemed
              investment in RBC's Common Shares could generate little or no return or result in a loss of
            ; ~apital.~
            !




                        A Plan participant's deemed investments in the Interest Account are to earn a rate of
                return that approximates the Company's long term borrowing cost, as determined fmm time to
                time by the Committee. For 2003, the Interest Rate for the Interest Account will be the London
                I n t W Offered Rate ("LIBOR') plus 0.5%. The pro foma annual return on the RBC Dam
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          Rauscher Interest Account (assuming quarterly compounding of interest) for each of the years in
          the five-year period ended March 31,2003, is set forth below:

                                    12-Month
                                  Period Ended                                                      Annual Renun on
                                    March 31                                                        Interest Account
                                      2003                                                                 2.3%
                                      2002                                                                 3.8%
                                      200 1                                                                7.2%
                                      2000                                                                 6.2%
                                         1999                                                              6.0%
 I

:I               Pro fonna annualized returns on the Interest Account (assuming quarterly compounding
$         of intqst) for the five-year period ended March 3 1,2003, are set forth below:
                                                                                                Annualized Return on
                                                                                                   Interest Rate
                                       1 Year                                                            2.3%
                                      5 Year
                                      10 Year
                 Mwunl Fund Informalion.
     1            Effective March 31, 2003, participants can elect to have a portion or all of his or her
          Deferred Amount deemed invested in any of eight mutual funds, which have been selected by the
          Committee. Additionally, the Committee intends to add additional mutual find options from
 I
 [I
     'I
     ,
          time to time. The Committee may e l i n a t e or replace mutual funds from time to time. The
          mutual funds currently available and the current asset class/investment style they represent, are
          listed below:
                      ,--._..        ""..---.-.-.-.....,.-.,.-   -.--.--..-,..-..-.------..-.---.
                      I                 Fund Name                      j          Asset Classflnvestment Stvle
                      ] American Balanced Fund                         f Balanced Fund
                          U.S. Equity Index Commingled S&P 500 Index Fund
                          Pool                                    !
                          Van Kampen Cornstock                         /
                                                                    Large Cap
                          Growth Fund of America                 i Large Cap
                          RBC (Cenlura) Mid Cap                  iI Mid Cap
                          FMI Focus                              j Small Cap
                          Wasatch Core Growth                    ! Small Cap
                          EuroPacEc       Gmwth
                                 -.-..--.---..-,-..-.-.--.- Fund f     --,,,, -"-- Equity
                                                                    International     . .--..                    -
          The  RB/C  Midcap fund is advised by Voyageur Asset Management, a subsidiary of RBC Dain
          Rawher. None of the other seven mutual iimds that are being made available to plan
          participants are affiliated with RBC or the Company or any of their affiliates.
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    The following descriptions of the mutual funds is derived from and is qualified in its entirety by
    the fbll text of the prospectus for each fund, copies of which are available upon request &om the
    Benefits Manager at the address and phone number listed in the fust paragraph of this
    prospectus. Although the Company is providing certain information with respect to each fund
    below, neither RBC nor the Company expresses any opinion as to the accuracy and
    completeness of such information, and RBC and the Company expressly disclaim any liability
    for any inaccuracies or misrepresentations with respect to each fund contained herein. Plan
    participants are urged to review carefully the prospectuses for the mutual funds and to make any
    inquiries they feel necessary prior to making their decisions about deemed investments in these
    mutual funds.
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I     !           Mnlual Fund Znformolion    - FundDescriptions
                                                                                         .
                                                                                       ... ...a7~
                                                                                ~.. .. .. ...;..-.   ,   i   t          .   ,   ,    ,   ..
                     Growth and lncom         To provide current income         A broad variety of. common and referred stocks.
                                                                                                                 ~




                     Balanced Fund            and long-term growth of           corporate bonds, and government securities. The
                                              capital and income while          fund will have at least 25% of its assets invested in


ti.       Index
     ngled Pool
                     Index Fund
                                              preserving your invesbnent
                                              Seeks to approximate the
                                              composition and total nturn
                                              of the Standard & Poor's
                                                                                fixed income sscutiries.
                                                                                Invests primarily :n the common stock of the 500
                                                                                companies that mave up the S&P 500.
.!                                            500 Index
                                                                                Normally the,fund invests in a portfolio ofequity
                                                                                securities, including preferred stocks, common
                                                                                stocks, and securitier.
                                                                                                    ..- cwverlible into nreferred and
                                                                                common stock. The fund emphasizes a "value"
                                                                                style of investing, seeltig well established,
                                                                                undervalued compmies believed to possess the
                                                                                potential for capital growth and inoomc. The find
                                                                                may invest up to 15% of it$ assets in securities of
                                                                                foreign issuers, which may involve greater risk than
                                                                                owning securities 0fU.S. issuers.

                     Large Cap Mutual Fund    Seeks to provide long-ierm        A diversified portfolio consiuingprimsrily      of
                                              capital appreciation              common stocks. The Fund may also invest in
                                                                                convertible securities, nonconvertiblc preferred
                                                                                stocks, and stocks of issuers outside the United
                                                                                States. The Fund has the flexibility to invest
                                                                                wherever the best growth opportunities appear to
                                                                                be.
                    I Mid Cap Mutud Fund      Seeks to provide long-term    I   The &nd normally invests at least 80% of its net
                                              capital growth                    assets in equity securities of mid-sizad companies
                                                                                chat fall within a range of companies in the
                                                                                Standard & Poor's Mid Cap 400 Composite Index
                                                                                at the time ofpurchase by thefund. Investments
                                                                                are primarily in common stocks. The advisor uses
                                                                                quantitative analysis to select stacks for the fund's
                                                                                portfolio that the advisor believes offer attractive
                                                                                growth opportunities and at w n a b l e prices.
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              Mutual Fund Information               - Fund Descrij~tions
                                                                                                                                        . .
                , ..   ...                 :   ;,   1       .   :   . C;orl..   ,      . >. :        ,,.; . ~ ( l o - l . ' , ,
                   Small Cap Mutual Fund            I Seeks to provide long-term     I The fund invests in small to midsap companies
                                                        -
                                                    I mwth                                                     .    -
                                                                                     I lhat have substantial capital erowth wtentid.
                                                                                       These companies frequently have little or no
                                                                                       following by the major stock broketage firms. The
                                                                                       fund looks for stocks of b u s i n m u that an Selling
                                                                                       at what management believes are substantial
                                                                                       discounts to prices that accurately reflect their
                                                                                       future earnings prospects. The fund's management
                                                                                       takes 8 "focused" approach to investing, meaning
                                                                                       the fund may from time to time invest in a limited
                                                                                       number of securities and/or industries, and its top
                                                                                       ten holdings may constitute 50% or m o n o f h e
                                                                                       find's assets. Stocks of small companiss may lack
                                                                                       the financial resources. product divgsification and
                                                                                       competitive strengths of larger w m p a n i a
/ Core Growth     Small Cap Mutual Fund                 Seeks Co provide long-term    The fund invests primarily in the common stocks 0
                                                        capital growth                growing conpanies. These companies are usually
                                                                                      sniall to mid-sized with market capitalizations of
                                                                                      less than S5 billion at the time of initial purchase.
                                                                                      The fund's management uses a "bottoms up"
                                                                                      fundamental analysis to look for companies that lht
                                                                                      fund's management believes are stable and have th
                                                                                      potential to grow steadily for long periods of time.
                                                                                      Stocks of m a l l companies may lack the financial
                                                                                      resources, product diversification and competitive
                                                                                      strengths of larger companies.
bfic Growth       International Mutual Fund             To increase the valueof       The fund invests primarily in stocks of companies
                                                        your investment over the      that do most oftheir business outside the United
                                                        long term through capital     States. Normally, at least 65% of the fund's assets
                                                        growth                        will be invested in securities of companies from
                                                                                      Europe or the Pacific Basin. The fund can invest ir
                                                                                      many lypes of companies. ranging fromlarge
                                                                                      multinational wrporations located in mqior world
                                                                                      markets, to smaller companies louted in
                                                                                      developing countries. Developing (or emerging
                                                                                      marka) countries may be subject to more frequent
                                                                                      and greater price changes than securities ofmore
                                                                                      developed countries. Foreign investments,
                                                                                     especially in developing countries, involve greater
                                                                                      risk and may offer greator patentid returns than
                                                                                     U.S.investments. T h u e risks include political end
                                                                                     economic uncertainties of foreign counhics, as well
                                                                                     as the risk of foreign currency fluctuations. There
                                                                                     are additional risks associated with funds that
                                                                                     concentrate their investments in onegeographic
                                                                                     area.
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                     Historical Fund Performance. The annual return for each of the years in the five-year
I
        II   period ended December 31 and for the first quarter of 2003, is set forth below:
7 I
1 1




                     ( I ) Morningstar data as of 3-3 1-03.
                     (2) Fidelity data as of3-31-03.

             Annualized returns on the mutual hnd options, as compared to annualized returns on the
             Standard & Poor's 500 Index, the Russell 2000 Small Cap Index, and the MSCI World Index for
             the period ended March 3 1,2003, are set forth below:




             (1)     Morningstar data as o f 3-31-03.
             (21     Russell lndexes dataas of3-31-03

                      he past performances of all these mutual funds are not guarantees of future
                         with any mutual fund investment, a Plan participant's deemed investment in
                         could generate little or no return or result in a loss of principal.
                     desale Restrictions
    I
                    Pbrticipants who are "affiliates" under the Securities Act of 1933, as amended (the "1933
             Act"), of REC at the time they receive distributions under the Plan in the form of Common
             Shares will, in order to resell such shares, be required eiiher to observe the resale limitations of

    I
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                                       '
                                       L                                           L
                                        I                                         L



             Rule 1 4 l of the 1933 Act or offer their shares for resale pursuant to another applicable


11
         I   exemption from registration under the 1933 Act An "affiliate" of a company is defined under
             Rule 144(a)(l) of the 1931 Act as any person that directly, or indirectly through one or more
             intermediaries, controls, or is controlled by, or is under control with, such company. The
!I           Company is under no obligation to file a reoffer prospectus on behalf of any Plan participant.
1
             Participmts who are not aMiliates at the time they receive distributions under the Plan in the form
             of Common Shares are expected to receive freely tradable shares.
i
;I,
         1   E.     pocuments Incornrated bv Reference

 I
                    ' h e following documents, which have been filed by RBC with the Securities and
 !           Exchange Commission (the "Commission"), are inwrporated by reference herein, as of their
 !           respective dates:
 i
                    (a) RBC's Annual Report on Form 40-F for the fiscal year ended October 31,2001, filed
                    with the Commission on January 17,2002 and December 27,2002;
                    (b) RBC's Reports on Form 6K dated November 29,2001, January 17,2002, June 1,
                    2002, June 30,2002, August 23,2002, January 1,2003 and March 14,2003,
                    (c) The description of capital stock contained in any Registration Statement or report
                    filed under the Securities Exchange Act of 1934. as amended (the "Exchange Act"),
                    including any amendment or report filed for the purpose ofupdating such description.
                All documents filed by RBC pursuant to Sections 13(a), 13(c), 14 and 15(d) of the
   I    Exchange    Act, subsequent to the date hereof and prior to the filing of a post-effective
   . I. amendment which indicates that all securities offered hereby have been sold or which deregisters
/i.I iI all securities then remaining unsold, shall be deemed to be incorporated by reference herein and
 '



!       to be a part hereof fknn the respective data of filing of such documents.
.I
     I              In addition to the Plan prospectus, RBC or tk Company will provide without charge to
     i
 .i          each person to whom a copy of this document has been delivered, on the written or oral request
             of such person, a wpy of any or all of the following:
 '1
 !I
     I
         /                 (a) the documents referred to above, excluding exhibits thereto, which have been
                    or may be incorporated by reference herein,
 :Il     8



                           (b) RBC's annual report to shareholders for the last fiscal year, and
                                            proxy statement or other communication distributed to RBC's


                                 such copies should be directed to hvestor Relations Department, Royal
                                 writing to 123 Front Street West, 6th Floor, Toronto, Ontario, Canada, M5J
                                     955-7802, or by visiting royalbank.com/investorrelation.
Case 2:08-cv-06090-FMC-AGR Document 1 Filed 09/17/08 Page 25 of 27 Page ID #:25


                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


         NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

                    This case has been assigned to District Judge Florence-Marie Cooper and the assigned
              discovery Magistrate Judge is Alicia G. Rosenberg.

              The case number on all documents filed with the Court should read as follows:
                                                ( 3 0 8 - 6090 FMC (A(3Elr)

               Pursuant to General Order 05-07 of the United States District Court for the Central
         District of California, the Magistrate Judge has been designated to hear discovery related
         motions.



         All discovery related motions should be noticed on the calendar of the Magistrate Judge




                                                            NOTICE TO COUNSEL

      A oopy of this notice must be sewed with the summons and complaint on all defendants (if a removal adion is
      filed, a copy of this notice must be served on all plaintiffs).
      Subsequent documents must be filed at the following location:

      @(I
       Western Division                           U    Southern Division                      U   Eastern Division
            312 N. Spring St, Rm. 0-8                  411 West Fourth St., Rm. 1053              3470 Twelfth St., Rm. 134
            Los hgales, CA 90012                       Santa h a , CA 92701-4516                  Riverside, CA 92501




      Faiyre to file al fhe propa localion $411nsuR in your documents being returned to yw.




                             NOTICE OF ASSIGNMENT TO UNITED STATES MAGlSR4TE JUDGE FOR DISCOWRY
Case 2:08-cv-06090-FMC-AGR Document 1 Filed 09/17/08 Page 26 of 27 Page ID #:26
                                           L
                             SBN 158592
                      O F KARl M. MYRON




                                                                       1
                                            UNITED STATES DISTRICT COURT
     1                                     CENTRAL DISTRICT OF CALIFORNIA
S EVEN BENHAYON, an Individual                                             CASE NUMBER

                                                        PLAINTIFF(S)                  CV0806090 FMC (AGR.)
                        v.
&YAL BANK O F CANADA, a Canadian company,
bhsiness fonn unknown; et al
                     (See attached)
                                                                                                  SUMMONS




 1          A lawsuit has been tiled against you.

            Within 20days after service of this summons on you (not counting the day you received it), you
14stserve on the plaintiffan answer to the attached dcomplaint                     amended complaint
I counterclah cross-claim or a motion under Rule I2 of the Federal Rules of Civil Procedure. The answer
r motion must be served on the plaintiffs attorney, LAW OFFICE OF KARl M. MYRON whose address is                      .
! 972 Mill Creek Drive, Laguna Hills, CA 92653                                          . If you fail to do so,
~dgmentby default will be entered against you for the relief demanded in the complaint. You also must tile
our answer or motion with the court.




                       SEP 1 7 2008

 I       Datd:



           days fi qhe defendant is the United Stoles or a United Srotes agencx or is an o f f e r or employee of the llnited States. Allowed




 I

          (IU07)                                                 SUMMONS
Case 2:08-cv-06090-FMC-AGR Document 1 Filed 09/17/08 Page 27 of 27 Page ID #:27
         I
                         L

         kari M. Myron - State Bar No. 158592
         LAW OFFICE OF KARI M. MYRON
         22972 Mill Creek Drive
         Laguna Hills, CA 92653
         (949) 7 16-0600
         (949) 7 16-0606 (fax)
         kmyron@myron-law.com

         Attorney for Plaintiff Steven Benhayon


                               UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

         In re                                           Case No.
         STEVEN BENHAYON, an individual,                 COMPLAINT FOR DAMAGES
                                                         AND REQUEST FOR A JURY
                                      Plaintiff,         TRIAL:
                 VS.                                     1. Violation of the Employee
                                                         Retirement Income Secur~tyAct of
         ROYAL BANK OF CANADA a                          1974 ("ERISA")
         Canadian compan         busmess fbrm
         unknown- R ~ ' C WEALTH                         2.    Violatiqn of the Age
         MANAGEM~NTCOMPANY, formerly                     Discrimination m Employment Act
         RBC DAIN RAUSCHER, INC., business               of 1967 ("ADEA")
         form unknown; THE ROYAL BANK OF
         CANADA           US      WEALTH                 3.    Wron ful Termination in
         ACCUMULATION PLAN, former1                      Violation o h u b l i c Policy
         known as RBC Dain Rauscher Wealt
         Accumulation Plan; and, DOES 1 through
                                                   H
         20,
                                   Defendants.


                 Plaintiff, Steven Benhayon, complains and alleges as follows:
                                              PARTIES
                 1.    STEVEN BENHAYON ("Benhayon"), the plaintiff in this action is,
         and was at all times relevant, a resident of Santa Barbara County and a citizen ofthe
         State of California. He is, and was at all times relevant, over forty years of age.
                 2.    Plaintiff is informed and believes that The ROYAL BANK OF
                                                   1
                                             COMPLAINT
